Case 2:04-cV-02587-.]DB-tmp Document 8 Filed 05/19/05 Page 1 of 2 Page|D 19

 

IN THE UNITED sTATEs DISTRICT CoURT F"JED B"r‘ l"/__ o.c.
FoR THE wESTERN DISTRICT 0F TENNESSEE ` '
wESTERN DIVISIoN 05 war 19 PH 5= 13
§PBF`W ?j‘l'-r,?»:` ":jao:_:o
KENNETH JOHNSON, ) ,§;;j= , l ;_,.;;sii£two;§
) ,, l
Plaintiff, )
) Case No. 04-2587-BP
v. )
)
McKEssoN CoRPoRATIoN, and )
JEFF ADAMS, jointly and severally, )
)
Defendants. )

 

AGREED ORDER

 

Counse] for all parties to this litigation have requested a four-day enlargement of time,
through June lO, 2005, in Which to complete discovery in this case. Counsel for the parties
represent that this additional time is needed in order for the parties to schedule depositions This
enlargement Of time should not affect the trial date in this matter or any other scheduling
deadlines

Based on the above, and for good cause, the court hereby grants the parties an

enlargement of time through and including June 10, 2005, in Which to complete discovery.

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. DA 1EL BREEN \
nite States District Judge

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30 ORDEREDihiS ial day ofMay,zoos.

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This notice confirms a copy of the document docketed as number 8 in
case 2:04-CV-02587 Was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed.

 

 

David P. J aqua

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Honorable J. Breen
US DISTRICT COURT

